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                                                                          Sutenor COllrt of California
 I           MICHAEL J. CURLS (SBN 159651)                                    Ounty of Los Anneles
             NICHELLE D. JONES (SBN 186308)
 2           LAW OFFICE OF MICHAEL J. CURLS                                     DEC 19lfJ1S
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 5           Attorneys for Plaintiffs THE ESTATE OF KENNEY WATKINS and PRESCIOUS
             SASSER

 7 .                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                COUNTY OF LOS ANGELES, CENTRAL DISTRICT
 8

                                                          Case No.:
 9
10
             THE ESTATE OF KENNEY WATKINS,
             PRESCIOUS SASSER, individoally, as                              Be 6 44 290
             successor in interest to KENNEY              PLAINTIFfS' COMPLAINT FOR
II           WATKINS,
                                                             1 Wrongful Death
12                                                           2 Negligence
                              Plaintiffs,                    3 Assault;
13                    VS.                                    4 Battery;
                                                             5 Neglige:n~ Hiring, Training and
14                                                              SupervIsion;
             CITY OF LOS ANGLES, LOS                         6) Bane Act Violations (Civil Code
15           ANGELES POLICE DEPARTMENT,                         &.52,.1,) ID . .        f C'IVI'1
             EVAN URIAS, and DOES 1                          7) V'IO atlon epnvatJon 0
                                                                Rights Under Color of Law
16           THROUGH 25, INCLUSIVE,                             Pursuant to the 4 th and 14th
17                                                              Amendments to the United
                              Defendants                        States Constitution (42 USC §
18                                                              1983)
19
                                                               DEMANDFORJURYTR~L
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22                                                                             By f~ax
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24                    PLAINTIFFS THE ESTATE OF KENNEY WATKINS and PRESCIOUS

25           SASSER allege:
26                                                  PARTIES
27               1.         Plaintiff PRESCIOUS SASSER, is the surviving mother of Decedent
28           KENNEY WATKINS, and is a resident of the State of California, and presently



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      resides in Los Angeles County. Plaintiff is pursuing the claims averred herein as
 2    an individual and on behalf of KENNEY WATKINS as his personal representative
 3    and successor in interest in accordance with California Code of Civil Procedure
 4   §377.32 and 42 U.S.C. §§1983, 1985, 1986 and 1988 to seek redress for
 5   Defendants' violations of his and KENNEY WATKINS'S rights under the Fourth
 6   and Fourteenth Amendments of the United States Constitution.
 7        2.   Defendant CITY OF LOS ANGELES ("CITY") is a municipal corporation
 8   organized and existing under the laws of the State of California, and is a
 9   "business establishment" within the meaning of sections 51 et. seq. of the
10   California Civil Code operating pursuant to its charter and the laws-Uf the-State of
11   California.
12        3.   Defendant LOS ANGELES POLICE DEPARTMENT (hereinafter
13   referred to as "LAPD") is a department within the CITY OF LOS ANGELES.
14        4.   Defendant EVAN URIAS is an officer of the LOS ANGELES POLICE
15   DEPARTMENT.
16        5.   Plaintiffs are unaware of the true names and capacities of those
17   Defendants sued herein as DOE Defendants. Plaintiffs will amend this complaint
18   to allege said Defendants' true names and capacities when that information
19   becomes known to them. Plaintiffs are informed, believe, and thereon allege that
20   these DOE Defendants are legally responsible and liable for the incident, injuries
21   and damages hereinafter set forth, and that each of said Defendants proximately
22   caused the injuries and damages by reason of negligent, careless, deliberately
23   indifferent, intentional, willful or wanton misconduct, including the negligent,
24   careless, deliberately indifferent, intentional, willful or wanton misconduct in
25   creating and otherwise causing the incidents, conditions and circumstances
26   hereinafter set forth, or by reason of direct or imputed negligence or vicarious
27   fault or breach of duty arising cut of the matters herein alleged. Plaintiffs will
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                                                                                  COMPLAIN
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          seek leave to amend this complaint to set forth said true names and identities of
      2   the unknown named DOE Defendants when they are ascertained.
      3      6.       Each of the named and unknown individual Defendants sued herein are
      4   sued both in their individual and personal capacity, as well as in their official
      5   capacity.
      6      7.       Defendants and each of them at all times herein were the agents and
      7   employees of their co-defendants and in doing these things hereafter alleged
      8   were acting within the course and scope of their employment and agency and
      9   with permission and consent of their co-defendants and employers.
     Hf                           FACTS COMMON TO ALL COUNTS -
     11      8.       Plaintiffs have exhausted their administrative remedies by filing a claim
     12   with the CITY OF LOS ANGELES. Plaintiffs' claim was rejected on or about
     13   November 7, 2016.
     14      9.       This complaint concerns an incident which occurred on August 16,
     15   2016 on Century Blvd., east of Figueroa Street in Los Angeles, California.
     16      10.      LOS ANGELES POLICE DEPARTMENT OFFICER EVAN URIAS
     17   ("URIAS") and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
     18   DEPARTMENT attempted a traffic stop of a vehicle in which decedent KENNEY
     19   WATKINS was a passenger.
     20      11.      KENNEY WATKINS exited the vehicle on foot and was pursued by
     21   OFFICER URIAS, and DOE DEFENDANTS 1..10 of the LOS ANGELES POLICE
     22   DEPARTMENT.
     23      12.      KENNEY WATKINS was subsequently fatally shot multiple times by
     24   OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
     25   DEPARTMENT.
     26      13.      Both prior to and during the time in which he was assaulted and
     27   battered as described above, the decedent KENNEY WATKINS was not armed
     28   with any kind of weapon, and posed no reasonable threat of violence to any

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                                                                                      COMPLAIN

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              OFFICER, nor to any other individual. When he was assaulted and battered by
          2   OFFICER URIAS and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
          3   DEPARTMENT as described above, the decedent, KENNEY WATKINS made no
          4   aggressive movements, no furtive gestures, and no physical movements which
          5   would suggest to a reasonable officer that he was armed with any kind of
          6   weapon, nor had the will, or the ability to inflict substantial bodily harm against
          7   any individual.
          8      14.    The decedent KENNEY WATKINS died as a direct and proximate result
          9   of physical injuries sustained by the shooting, negligent tactics, and
         10   unreasonable and excessive use of force inflicted upon hrm by 0FFICER EVAN
         II   URIAS, and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
         12   DEPARTMENT.
         13      15.    Plaintiffs are informed and believe, and thereon allege, that OFFICER
         14   EVAN URIAS, and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
         15   DEPARTMENT were negligently trained and retained by the CITY OF LOS
         16   ANGELES in that they had known propensities for acting in the fashion that they
         17   did with respect to this incident, all of which was a proximate cause of injuries
         ]8   and death to the decedent, KENNEY WATKINS and all plaintiffs.
         19                               FIRST CAUSE OF ACTION
         20                                  (For Wrongful Death)
         21                       (By All Plaintiffs Against All Defendants)
         22      16.    Plaintiffs reallege and reincorporate each and every allegation and
         23   averment set forth in Paragraphs 1 through 15 of this complaint as though fully
         24   set forth herein.
         25      17.    This complaint concerns an incident which occurred on August 16,
         26   2016 on Century Blvd., east of Figueroa Street in Los Angeles, California.
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            18.    LAPD OFFICER EVAN URIAS ("URIAS"). and DOE DEFENDANTS 1-
     2   10 of the LAPD attempted a traffic stop of a vehicle in which decedent KENNEY
     3   WATKINS was a passenger.
     4      19.    KENNEY WATKINS exited the vehicle on foot and was pursued by
     5   OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
     6      20.    KENNEY WATKINS was subsequently fatally shot multiple times by
     7   OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
     8      21.    Both prior to and during the time in which he was assaulted and
     9   battered as described above, the decedent KENNEY WATKINS was not armed
-   10   with any kind of weapon, and posed no reasonable threat of violence to any
    11   OFFICER, nor to any other individual. When he was assaulted and battered by
    12   OFFICER URIAS and DOE DEFENDANTS 1-10 of the LAPD as described
    13   above, the decedent, KENNEY WATKINS made no aggressive movements, no
    14   furtive gestures, and no physical movements which would suggest to a
    15   reasonable officer that he was armed with any kind of weapon, nor had the will,
    16   or the ability to inflict substantial bodily harm against any individual.
    17      22.    The decedent KENNEY WATKINS died as a direct and proximate result
    18   of physical injuries sustained by the shooting, negligent tactics, and
    19   unreasonable and excessive use of force inflicted upon him by OFFICER EVAN
    20   URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
    21      23.    Plaintiffs are informed and believe, and thereon allege, that OFFICER
    22   EVAN URIAS, and DOE DEFENDANTS 1-10 of the LAPD were negligently
    23   trained and retained by the CITY OF LOS ANGELES in that they had known
    24   propensities for acting in the fashion that they did with respect to this incident, all
    25   of which was a proximate cause of injuries and death to the decedent, KENNEY
    26   WATKINS and all plaintiffs.
    27      24.    As a proximate result of the death of the Decedent and the above-
    28   described conduct of Defendants, and each of them, PRESCIOUS SASSER and

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          KENNEY WATKINS'S heirs have sustained substantial economic and non-
      2   economic damages resulting from the loss of the love, comfort, society, attention,
      3   services and support of Decedent in an amount according to proof at trial.
      4      25.      As a further proximate result of the above-described conduct of the
      5   Defendants, and each of them, and the ensuing death of the Decedent, KENNEY
      6   WATKINS's heirs have incurred funeral and burial expenses in an amount
      7   according to proof at trial.
      8      26.     As a proximate result of the above-mentioned conduct of Defendants,
      9   and each of them, Plaintiffs were required to employ and did employ physicians
     10   to examine, treat and care for them, and incurred additional medical expenses fo
     II   emergency treatment, hospital bills, and other incidental medical expenses in an
     12   amount according to proof at trial.
     J3                              SECOND CAUSE OF ACTION
     14
                       (Survival Action by the ESTATE OF KENNEY WATKINS,
     15
                   Against Defendant EVAN URIAS and DOE DEFENDANTS 1-10 for
     16
                                                Negligence)
     17
             27.     Plaintiffs reallege and reincorporate each and every allegation and
     18
          averment set forth in Paragraphs 1 through 26 of this complaint as though fully
     19
          set forth herein.
     20
             28.     On August 16, 2016, decedent KENNEY WATKINS was fatally shot
     21
          multiple times by OFFICER URIAS and DOE DEFENDANTS 1-10 of the LAPD.
     22
             29.     At no time during the course of these events did the decedent,
     23
          KENNEY WATKINS, pose any reasonable threat to OFFICER URIAS, or DOE
     24
          DEFENDANTS 1-10 of the LAPD, nor did he do anything to justify the force used
     25
          against him and the same was deadly, excessive, unnecessary, and unlawful.
     26
             30.     At all times mentioned herein, URIAS and DOE DEFENDANTS 1-10 of
     27
          the LAPD owed KENNEY WATKINS a duty of care to avoid causing unnecessary
     28
          physical harm and distress in the execution and enforcement of the law.

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                      31.    By deliberately and intentionally shooting numerous rounds directly at
               2   KENNEY WATKINS, URIAS and DOE DEFENDANTS 1-10 of the LAPD
               3   intended to and did cause serious injury and death to KENNEY WATKINS. Such
              4    actions were in conscious and reckless disregard of the risk of injury and death
              5    and under the circumstances there was no objectively reasonable basis for the
               6   defendants' actions in shooting as they did and in killing KENNEY WATKINS.
               7      32.    In conducting himself as alleged herein, URIAS AND DOE
               8   DEFENDANTS 1-10 of the LAPD breached their duty of care.
               9      33.    As an actual and proximate result of URIAS' and DOE DEFENDANTS
              10   1-10 of the LAPD'S acts, as alleged herein,-condtrcted without due care in the
              11   execution and enforcement of the law, KENNEY WATKINS was killed.
              12                              THIRD CAUSE OF ACTION
              J3
                              (Survival Action by the ESTATE OF KENNEY WATKINS,
              14
                                         Against All Defendants for Assault)
              15
                      34.    Plaintiffs reallege and reincorporate each and every allegation and
              16
                   averment set forth in Paragraphs 1 through 33 of this complaint as though fully
              J7
                   set forth herein.
              18
                      35.    This complaint concerns an incident which occurred on August 16,
              19
                   2016 on Century Blvd., east of Figueroa Street in Los Angeles, California.
              20
                      36.    LAPD OFFICER EVAN URIAS ("URIAS") and DOE DEFENDANTS 1-
              21
                   10 of the LAPD attempted a traffic stop of a vehicle in which decedent KENNEY
              22
                   WATKINS was a passenger.
              23
                      37.    KENNEY WATKINS exited the vehicle on foot and was pursued by
              24
                   OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
              25
                      38.    KENNEY WATKINS was subsequently fatally shot multiple times by
              26
                   OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
              27
                      39.    Both prior to and during the time in which he was assaulted and
              28
                   battered as described above, the decedent KENNEY WATKINS was not armed

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                                                                                    EXHIBIT 2 PAGE 15
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          with any kind of weapon, and posed no reasonable threat of violence to any
     2    OFFICER, nor to any other individual. When he was assaulted and battered by
     3    OFFICER URIAS and DOE DEFENDANTS 1-10 of the LAPD as described
     4    above, the decedent, KENNEY WATKINS made no aggressive movements, no
     5    furtive gestures, and no physical movements which would suggest to a
     (,   reasonable officer that he was armed with any kind of weapon, nor had the will,
     7    or the ability to inflict substantial bodily harm against any individual.
     8       40.    When KENNEY WATKINS was assaulted and battered by OFFICER
     9    URIAS, and DOE DEFENDANTS 1-10 of the LAPD, the decedent, KENNEY
    JO    WATKINS made no aggressive movements, no furtive gestures, and no physical
    II    movements which would suggest to a reasonable OFFICER that he was armed
    12    with any kind of weapon, nor had the will, or the ability to inflict substantial bodily
    13    harm against any individual.
    14       41.    That evening the decedent KENNEY WATKINS died as a direct and
    IS    proximate result of the fatal gunshot wounds sustained at the hands of OFFICER
    16    EVAN URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
    J7       42.    In doing the acts as alleged above, defendants intended to and did

    18    cause an unlawful, non-consensual offensive contact with KENNEY WATKINS'S
    19
          person.
    20
             43.    As a result of defendants' acts as alleged above, KENNEY WATKINS,
    21
          in fact, was placed in great apprehension of harmful or offensive contact with his
    22

    23    person and was injured.
    24       44.    The aforementioned acts and omissions alleged herein were intended
    25    by each defendant to cause injury to KENNEY WATKINS, and the acts and
    26    omissions were willful, wanton, malicious and oppressive, thereby justifying the
    27    awarding of exemplary and punitive damages against each of the individual
    28    defendants in an amount to be determined according to proof at trial.


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                                        FOURTH CAUSE OF ACTION
      2                   (Survival Action by the ESTATE OF KENNEY WATKINS,
      3                              Against All Defendants for Battery)
      4           45.   Plaintiffs reallege and reincorporate each and every allegation and
      5    averment set forth in Paragraphs 1 through 44 of this complaint as though fully
      6    set forth herein.
      7           46.   On August 16, 2016, decedent KENNEY WATKINS was fatally shot
      8    multiple times by OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
      9           47.   At no time during the course of these events did the decedent,
     10    KENNEY WATKINS, pose any reasonable threat to OFFICER URIAS, and DOE
     II    DEFENDANTS 1-10 of the LAPD, nor did he do anything to justify the force used
     12    against him and the same was deadly, excessive, unnecessary, and unlawful.
     13           48.   When KENNEY WATKINS was assaulted and battered by OFFICER
     14    URIAS, and DOE DEFENDANTS 1-10 of the LAPD, the decedent, KENNEY
     15    WATKINS made no aggressive movements, no furtive gestures, and no physical
     16.   movements which would suggest to a reasonable OFFICER that he was armed
     J7    with any kind of weapon, nor had the will, or the ability to inflict substantial bodily
     18        harm against any individual.
     19           49.   That evening the decedent KENNEY WATKINS died as a dired and
     20        proximate result of the fatal gunshot wounds inflicted upon him by OFFICER
     21    EVAN URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
     22           50.   The aforementioned acts and omissions alleged herein were intended
     23    by each defendant to cause injury to KENNEY WATKINS, and the acts and
     24    omissions were willful, wanton, malicious and oppressive, thereby justifying the
     25    awarding of exemplary and punitive damages against each of the individual
     26    defendants in an amount to be determined according to proof at trial.
     27

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                                          FIFTH CAUSE OF ACTION
         2     (By All Plaintiffs Against Defendants CITY OF LOS ANGELES, LAPD and
         3                              DOE DEFENDANTS 11·20 for
         4                       Negligent Hiring, Training, and Supervision)
         5      51.    Plaintiffs reallege and reincorporate each and every allegation and
         6   averment set forth in Paragraphs 1 through 50 of this complaint as though fully
         7   set forth herein.
         8      52.    On August 16, 2016, decedent KENNEY WATKINS was fatally shot
         9   multiple times by OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
        10      53.    At no time during the- course of these events did the decedent,
        II   KENNEY WATKINS, pose any reasonable threat to OFFICER URIAS, or DOE
        12   DEFENDANTS 1-10 of the LAPD, nor did he do anything to justify the force used
        13   against him and the same was deadly, excessive, unnecessary, and unlawful.
        14      54.    When KENNEY WATKINS was assaulted and battered by OFFICER
        IS   URIAS, and DOE DEFENDANTS 1-10 of the LAPD, KENNEY WATKINS made
        16   no aggressive movements, no furtive gestures, and no physical movements
        17   which would suggest to a reasonable OFFICER that he was armed with any kind
        18   of weapon, nor had the will, or the ability to inflict substantial bodily harm against
        19   any individual.
        20      55.    That evening the decedent KENNEY WATKINS died as a direct and
        21   proximate result of physical injuries sustained by the severe beating and
        22   unreasonable restraint maneuvers inflicted upon him by the OFFICER EVAN
        23   URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
        24      56.    Plaintiffs are informed and believe, and thereon allege, that the involved
        25   deputies and/or officers of the LAPD were Negligently Trained and Retained by
        26   Doe Defendants 10-20 of the CITY OF LOS ANGELES and the LAPD in that
        27   they had known propensities for acting in the fashion that they did with respect to
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          this incident, all of which was a proximate cause of injuries and death to the
      2   decedent, KENNEY WATKINS and all plaintiffs.
      3      57.    As a result of these acts, the decedent was placed in great fear of his
      4   life and physical wellbeing. Moreover, due to the wrongful, intentional and
      5   malicious acts of each of these defendants, the decedent suffered extreme pain
      6   and severe mental anguish, as well as mental and physical damage and injury to
      7   his mind and body.
      8      58.    As a proximate result of the above-mentioned conduct of defendants,
      9   and each of them, the decedent was required to employ and did employ
     10   physicians and surgeonsio examine, treat, and care for him, and incurred
     II   additional medical expenses for emergency treatment, hospital bills, and other
     12   incidental medical expenses and funeral and burial expenses in an amount
     13   according to proof at trial.
     14                                  SIXTH CAUSE OF ACTION
     15                   By Plaintiff THE ESTATE OF KENNEY WATKINS
     16                                   Against All Defendants
     17                       for Bane Act Violations (Civil Code § 52.1)
     18      59.    Plaintiffs reallege and reincorporate each and every allegation and
     19   averment set forth in Paragraphs 1 through 58 of this complaint as though fully
     20   set forth herein.
     21      60.    This cause of action is to redress the deprivation, under color of statute,
     22   ordinance, regulations, policy, custom, practice or usage of a right, privilege, and
     23   immunity secured to KENNEY WATKINS by the Fourth, and Fourteenth
     24   Amendments to the United States Constitution.
     25      61.    At all times mentioned herein, the Defendants CITY OF LOS ANGELES
     26   and the LAPD employed the individual Defendants herein. Said Defendants
     27   provided their individual Defendant employees and agents with official badges
     28



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          and identification cards which designated and described the bearers as
 2        employees of the municipal defendants.
 3           62.    During all times mentioned herein, the individual Defendants, and each
 4        of them, separately and in concert, acted under color and pretense of law, under
 5        color of the statutes, ordinances, regulations, policies, practices, customs and
 6        usages of the LAPD. Each of the individual Defendants here, separately and in
 7        concert, deprived all plaintiffs of the rights, privileges and immunities secured to
 8        them by the Fourth, and Fourteenth Amendments to the United States
 9        Constitution and the laws of the United States.
10           63.    On August16, 2016, decedent KENNEY WATKINS was fatally shot by
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          OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
12           64.    At no time during the course of these events did the decedent,
13        KENNEY WATKINS, pose any reasonable threat to OFFICER URIAS, or DOE
14        DEFENDANTS 1-10 of the LAPD, nor did he do anything to justify the force used
15        against him and the same was deadly, excessive, unnecessary, and unlawful.
16           65.    When KENNEY WATKINS was assaulted and battered by OFFICER
17        URIAS, and DOE DEFENDANTS 1-10 of the LAPD, the decedent, KENNEY
18        WATKINS made no aggressive movements, no furtive gestures, and no physical
19        movements which would suggest to a reasonable OFFICER that he was armed
20        with any kind of weapon, nor had the will, or the ability to inflict substantial bodily
21        harm against any individual.
22           66.    That evening the decedent KENNEY WATKINS died as a direct and
23        proximate result of physical injuries sustained by the fatal shooting inflicted upon
24        him by OFFICER EVAN URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
25           67.    KENNEY WATKINS had a liberty interest to life and the right not to be
26        deprived of liberty or property without due process of law. All of these rights and
27        privileges are secured to plaintiffs by the provisions of the Fourth Amendment
28        and the Due Process clause of the Fourteenth Amendments to the United States

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     Constitution, and by California Civil Code §§ 52, and 52.1. All of these interests
 2   were implicated by the wrongful conduct of the defendants which proximately
 3   caused KENNEY WATKINS'S death.
 4      68.    Each of the individual defendants acted outside the scope of his/her
 5   jurisdiction and without authorization of law and each of the individual defendants
 6   acted Willfully, knowingly, with reckless disregard and callous indifference, and
 7   did in fact violate those rights and privileges, entitling plaintiffs to exemplary
 8   damages against the individual defendants, in their individual capacities, in an
 9   amount to be proven at the trial of this matter.
10      69.    As a direct and proximate result of the aforesaid acts, omission,
11   customs, practices, policies and decisions of the defendants and each of them,
12   plaintiffs have suffered great mental and physical pain, suffering, anguish, fright,
13   nervousness, anxiety, grief, shock, humiliation, indignity, embarrassment,
14   apprehension, the loss of love, comfort, society, solace and support, all to their
15   damage in a sum to be determined at trial. Additionally, plaintiffs have been
16   forced to incur substantial amounts for attorneys' fees, investigation expenses,
17   and other expenses in the vindication of their constitutional rights.
18      70.   As a result of these acts, plaintiffs were placed in great fear of their lives
19   and physical wellbeing. Moreover, due to the wrongful, intentional, and malicious
20   acts of each of these defendants, plaintiffs have suffered and will continue to
21   suffer, extreme pain and severe mental anguish, as well as mental and physical
22   damage and injury to their minds and bodies.
23      71.   As a proximate result of the above-mentioned conduct of defendants,
24   and each of them, plaintiffs have been required to employ and did employ
25   physicians and surgeons to examine, treat, and care for them, and incurred
26   additional medical expenses for emergency treatment, hospital bills, and other
27   incidental medical expenses in an amount according to proof at trial.
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                                                                                  COMPLAIN
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        72.    The aforementioned acts and omissions alleged herein were intended
 2   by each defendant to cause injury to plaintiffs, and were undertaken with a
 3   conscious disregard for the rights and safety of the plaintiffs as the acts and
 4   omissions were willful, wanton malicious and oppressive, thereby justifying the
 5   awarding of exemplary and punitive damages against each of the individual
 6   defendants in an amount to be determined according to proof at trial.
 7      73.    Plaintiffs hereby demand attorneys' fees pursuant to section 52 of the
 8   California Civil Code.
 9                             SEVENTH CAUSE OF ACTION
10    (Pursuantto 42- U.S.C. § 1983 for Violations of Plaintiffs' Rights Underthe -
II      Fourth and Fourteenth Amendments to the United States Constitution
12                                 Against all Defendants)
13      74.    Plaintiffs reallege and reincorporate each and every allegation and
14   averment set forth in Paragraphs 1 through 73 of this complaint as though fully
15   set forth herein.
16      75.    At all times mentioned herein, KENNEY WATKINS had a right under
17   the Fourth Amendment to the United States Constitution to be free from
18   excessive and unreasonable force, a right to be free from the unnecessary
19   infliction of pain, suffering and torture, a right to life and a right to privacy. Under
20   the Fourteenth Amendment to the United States Constitution, Plaintiffs had a
21   cognizable right to a familial relationship with KENNEY WATKINS, as well as the
22   related right to be free from unwarranted State interference with the same.
23      76.    Defendants OFFICER URIAS, and DOE DEFENDANTS 1-10 of the
24   LAPD, under color of law, used excessive and deadly force against KENNEY
25   WATKINS without justification as averred herein. Defendants acted in reckless
26   and callous disregard for the constitutional rights of Plaintiffs and KENNEY
27   WATKINS thereby violating Plaintiffs' and KENNEY WATKINS'S rights under the
28   Fourth and Fourteenth Amendments.

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        77.    Plaintiffs seek general and special damages according to proof
 2   including damages for the pain and suffering KENNEY WATKINS endured prior
 3   to his death; damages for KENNEY WATKINS'S loss of the enjoyment of life's
 4   activities; and damages for the deprivation of Plaintiffs' constitutionally protected
 5   interest in the familial relationship, love, care, and companionship of their father,
 6   KENNEY WATKINS
 7      78.    The wrongful conduct of Defendants, and each of them, is a typical
 8   example of a larger policy, pattern, practice, custom and usage of Defendants
 9   LAPD to deprive certain segments of the populace of their inalienable rights by
10   committing, condoning, approving, overlooking and failing to prevent by-proper
II   discipline acts of excessive force; unwarranted use of deadly force; suppression,
12   distortion, falsification, and fabrication of evidence; breaching duties imposed by
13   California Government Code § 815.6 by filing false OFFICER reports in violation
14   of California Penal Code § 118.1; not properly screening, hiring, training, testing,
]5   monitoring, supervising, disciplining or investigating potential misdeeds of LAPD
16   deputies; negligent retention of said deputies and maintenance of a "code of
17   silence," whereby no other deputies and/or officers, supervisor or policy maker
18   would disclose or intervene to prevent and/or would actively cover up the
19   aforementioned misconduct.
20      79.    Plaintiffs are informed and believe, and thereupon aver, that the
21   wrongful acts of employee Defendants, when viewed in the context of the
22   enterprise of law enforcement, are broadly incidental to that enterprise, and are
23   not so unusual or startling that it would seem unfair to include any losses
24   suffered as a result of said acts among other costs of employer/municipality
25   Defendants' business.
26      80.    Defendants, and each of them, acted at all times herein knowing that
27   the established customs, policies, patterns, and practices of Defendant KERN
28   COUNTY SHERIFFS DEPARTMENT allow a cover-up and allow the continued

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     violation of the Fourth and Fourteenth Amendments of the Constitution of the
 2   United States.
 3      81.   Plaintiffs are informed and believe and thereon aver that Defendant
 4   LAPD knew or in the exercise of reasonable care should have known of a history,
 5   propensity and pattern, prior to and after the time of KENNEY WATKINS'S death,
 6   for OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD, to falsify
 7   evidence after the OFFICER's and/or officers use of excessive force; or to use
 8   unreasonable, out of policy or unconstitutional OFFICER and/or officer tactics to
 9   investigate OFFICER and/or officer use of force incidents.
10    -82. - Prior to the circumstances leading to and following KENNEY
11   WATKINS'S death, which involved Defendants OFFICER URIAS'S, and DOE
12   DEFENDANTS 1-10 of the LAPD, the above referenced Defendants utilized
13   unreasonable OFFICER tactics that led to the unnecessary and unreasonable
14   use of excessive force and/or the use of unreasonable, out of policy or
15   unconstitutional OFFICER and/or officer tactics to investigate OFFICER and/or
16   officer use of force incidents, Defendants OFFICER EVAN URIAS, and DOE
17   DEFENDANTS 1-10 of the LAPD were the subject of prior complaints of
18   allegations of similar conduct and had been found by federal and/or state courts
19   to have violated constitutional rights in the course and scope and under color of
20   law in their capacities as KERN COUNTY SHERIFF'S Deputies.
21      83.   Notwithstanding this information and the history of OFFICER EVAN
22   URIAS, and DOE DEFENDANTS 1-10 ofthe LAPD, the LAPD failed to train,
23   supervise or discipline OFFICER EVAN URIAS, and DOE DEFENDANTS 1-100
24   the LAPD or other officers who used excessive force; falsified evidence after an
25   OFFICER and/or officer use of excessive force; used unreasonable OFFICER
26   and/or officer tactics which led to the unnecessary and unreasonable use of
27   excessive force; or used unreasonable, out of policy or unconstitutional
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         OFFICER and/or officer tactics to investigate OFFICER and/or officer use of
     2   force incidents.
 3          84.    Defendants' disregard of this knowledge or failure to adequately
 4       investigate and discover this policy, pattern, practice, custom and usage of
 5       constitutional violations or the existence of facts that create the potential of
 6       unconstitutional acts, violated their duty to supervise, train and instruct their
 7       subordinates to prevent similar acts to other persons.
 8          85.    Defendants' failure to take steps to train, supervise, investigate or
 9       instruct OFFICER EVAN URIAS, and DOE DEFENDANTS 1-10 of the LAPD,
10       resulted in the use of excessive force and unjustified deadly force ultimately
]]       killing KENNEY WATKINS
12          86.    Defendants had a policy, pattern, practice, custom and usage that
13       resulted in their failure to take steps to train, supervise, investigate or instruct
14       Doe Defendants to use alternatives to deadly force when attempting to
15       apprehend a person. Defendants knew or should have known from OFFICER
16       EVAN URIAS, and DOE DEFENDANTS 1-10 of the LAPD'S own experience and
17       the experience of other law enforcement departments nationwide that with a
18       person fleeing from deputies, reasonable alternatives to force, especially deadly
19       force, must be employed consistent with the constitutional duty to refrain from the
20       unnecessary taking of human life. Notwithstanding this knowledge, Defendants
21       failed to train OFFICER EVAN URIAS, and DOE DEFENDANTS 1-10 of the
22       LAPD and other LAPD deputies and supervisors in crisis management and
23       alternatives to the use of deadly force and instead maintained an unconstitutional
24       policy, custom and/or practice that a person fleeing who initially does not respond
25       to verbal commands must be attacked with deadly force in order to arrest and
26       obtain compliance.
27          87.    The aforementioned acts of the Defendants and each of them were
28       willful, wanton, malicious and oppressive and thereby justifies the awarding of

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     exemplary and punitive damages. Further, Plaintiffs are entitled to, and do seek,
 2   attorney's fees pursuant to 42 U.S.C. § 1988.
 3         WHEREFORE, plaintiff prays for judgment against defendants and each of
 4   them as follows:
 5            1.    For burial and funeral related expenses according to proof at trial;
 6            2.    For general damages in an amount to be determined according t
 7                  proof at trial;
 8            3.    For medical and related expenses according to proof at trial;
 9            4.    For costs of suit incurred herein;
10            5.    For punitive damages against EVAN URIAS and individual DOE
11                  DEFENDANTS 1-20 of the LAPD in an amount to be determined
12                  according to proof at trial;
J3            6.    For attorneys' fees, investigation fees, and expert witness fees
14                  incurred herein; and
15            7.    For such other and further relief as the court may deem just and
16                  proper.
17

18   DATED: December 16, 2016                  LAW OFFICE OF MICHAEL J. CURLS
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21                                                 By:          B            _
                                                   Nichelle D. Jones, Attorneys for
22
                                                   Plaintiffs THE ESTATE OF KENNEY
23                                                 WATKINS, et al.
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                                 DEMAND FOR JURY TRIAL
 2

 3          Plaintiffs hereby demand a trial by jury through their counsel of record as
 4   to all issues so triable.
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 6   DATED: December 16, 2016                  LAW OFFICE OF MICHAEL J. CURLS
 7

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 9                                                 BY:             &            _
                                                   Nichelle D. Jones, Attorneys for
10
                                                   Plaintiffs ESTATE OF KENNEY
]1                                                 WATKINS, et a/.
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